         Case 22-13228-amc                         Doc        Filed 08/15/23 Entered 08/15/23 11:10:31                              Desc Main
                                                              Document      Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1              Chanel R. Drayton

  Debtor 2
  (Spouse, if filing)


  United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                                                  (State)
  Case number           22-13228-amc




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor's plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor:                   Nationstar Mortgage LLC                       Court claim no. (if known): 4
   Last 4 digits of any number you use to                                            Date of payment change:
   identify the debtor's account:                             XXXXXX4954             Must be at least 21 days after date       10/01/2023
                                                                                     of this notice

                                                                                     New total payment:                        $ 701.49
                                                                                     Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
             No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why:


                        Current escrow payment:           $245.51                                  New escrow payment: $370.10



Part 2:         Mortgage Payment Adjustment

 2.      Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
         variable-rate account?
             No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                  attached, explain why:


                        Current interest rate                                %                     New interest rate:                       %

                        Current principal and interest payment: $                                  New principal and interest payment: $


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No
             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                        Reason for change:
                        Current mortgage payment:         $                                        New mortgage payment: $




Official Form 410S1                                                    Notice of Mortgage Payment Change                                        page 1
       Case 22-13228-amc                      Doc         Filed 08/15/23 Entered 08/15/23 11:10:31                          Desc Main
                                                          Document      Page 2 of 6
Debtor 1         Chanel R. Drayton                                                 Case number (if known) 22-13228-amc
                 First Name     Middle Name       Last Name




Part 4:       Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
           I am the creditor.
           I am the creditor's attorney or authorized agent.

    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




    /s/ Roger Fay, Esq., ID No. 315987                                                  Date August 15, 2023
    Signature


    Print:             Roger Fay, Esquire                                              Title        Attorney for Creditor
                       First Name                 Middle Name Last Name


    Company            Albertelli Law


    Address            14000 Commerce Parkway, Suite H
                       Number          Street
                       Mount Laurel                  NJ             08054
                       City                          State          ZIP Code


Contact phone          (856) 724-1888                                              Email: rfay@alaw.net




Official Form 410S1                                            Notice of Mortgage Payment Change                                    page 2
Case 22-13228-amc                          Doc              Filed 08/15/23 Entered 08/15/23 11:10:31                                                      Desc Main
        mr.
                                                            Document      Page    3 of 6
                                                                           07/24/2023    OUR INFO
                                          RETURN SERVICE ONLY                                                           ONLINE

   cooper                                 PLEASE DO NOT SEND MA IL TO THIS ADDRESS
                                          PO Box 818060
                                          5801 Postal Road
                                                                                                                        www.mrcooper.com

                                          Cleveland, OK 44181
   CHANGING THE FACE OF HOME LOANS




   CHANEL DRAYTON
   536N58TH ST
                                                                                                                        PROPERTY ADDRESS
   PHILADELPHIA,PA 19131
                                                                                                                        536N58THST
                                                                                                                        PHILADELPHIA.PA 19131




   Dear CHANEL DRAYTON,


   Thanks for doing business with Mr. Cooper. We appreciate the opportunity to service your mortgage.


   Recently, Mr. Cooper performed an escrow analysis on your loan and found a surplus of funds on your escrow account.

   In this letter, we have enclosed an escrow refund check in the amount of $615.08.


   Ifyou wish to return the funds to Mr. Cooper and request that we apply the funds to your UPB or escrow account, please endorse
  the back of the check, specify where the funds are to be applied on the front of the check, and mail the check to the below address;

   Mr. Cooper
  Attention: Account Services
   8950 Cypress Waters Blvd.
   Coppell, TX 75019

   Ifyou wish to keep the funds for your own purpose, no action is required.


   If you have any questions, please call our Bankruptcy Department at 877-343-5602. Our hours of operation are Monday through
  Friday from 8 a,m, to 5 p.m. (CT), Visit us on the web at www.mrcooper.com for more information.


   Sincerely,


   Mr. Cooper


  Enclosure




   Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLCjs doinaJ^usiness as Nationstar Mortgage LLC d/b/a Mr.
   Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC.^I/i#t»rlslrv|d.
                   sed this communication is sent for informational purposes            t intended as an attempt to collect, assess, or
                   n against, or demand payment from, any individual protected by the U.S          tcy Code. If this account has been
          rged in a bankruptcy proceeding, be advised                                                              only and not an attempt to collect a

   S^oannin&hgYh?^
   attempt to collect against the borrower personally or an attempt to revive personal liability.                                                  .•I I. • I •FUr-ir-.G
                                                                                                                                                  OPPORTUNITY

   If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
   loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
   attempt to collect a debt from you personally.
Case 22-13228-amc                               Doc              Filed 08/15/23 Entered 08/15/23 11:10:31 Desc Main
         mr.
                                                                 Document      Page Escrow
                                                                                    4 of 6 Account Disclosure Statement
                                               RETURN SERVICE ONLY


   cooper                                      PLEASE DO NOT SEND MA IL TO THIS ADDRESS
                                               PO Box 818060
                                               5801 Pt»tal Road
                                                                                                                Customer Service: 888-480-2432
                                                                                                                Monday through Thursday from 7 a.m. to 8 p.m. (CT),
                                               Cleveland, OK 44181
   CHANGING THE FACE OF HOME LOANS                                                                              Friday from 7 a.m. to 7 p.m. (CT) and Saturday from 8 a.m.
                                                                                                                to 12 p.m. (CT)



                                                                                                                Tax/Insurance: 866-825-9267
                                                                                                                Monday through Thursday from 8 a.m. to 9 p.m. (ET),
                                                                                                                Friday from 8 a.m. to 7 p.m. (ET) and Saturday from 9 a.m.
                                                                                                                to 3 p.m. (ET)
    CHANEL DRAYTON
    536N58TH ST
    PHILADELPHIA,PA 19131                                                                                       Statement Date: 07/24/2023




                Why am I           Mr. Cooper completed an analysis of your escrow account to ensure that the account is funded correctly, determine any surplus or
       receiving this ?            shortage, and adjust your monthly payment accordingly. Mr. Cooper maintains an escrow cushion equal to two months' estimated
                                   taxes and insurance (unless limited by your loan documents or state law) . This measure helps to avoid a negative balance in the
                                   event of changing tax and insurance amounts.



       What does this              At this time your Escrow Account has more money than needed, resulting in a surplus of $615.08. Due to this surplus and changes
        mean for me?               in your taxes and insurance premiums, your monthly escrow payment will increase by $124.59.




                What do I          A surplus check in the amount of $615.08 is attached below. Please note that effective 10/01/2023, your new total monthly payment

            need to do?            will be $701.49.


                                                                                    Current Monthly                                                                  New Monthly
     Total Payment                                                                                                       Payment Changes
                                                                                                 Payment                                                                    Payment
     PRINCIPAL AND INTEREST                                                                          $331.39                                 $0.00                              $331.39
     ESCROW                                                                                          $245.51                              $124.59                               $370.10
     Total Payment                                                                                 $576.90                               $124.59                              $701.49
     See below for surplus calculation

    What is a Surplus? A surplus iis the differen ce between the lowest projected balance and the minimum required balance of your account for the
    coming year, as shown below. PI ease see second page for coming year details.

                                       Minimum Required Balance                                                      Lowest Projected Balance



                                                  $723.80                                                                          $1,338.88



                                                                               Surplus Amount $615.08
                                                      Please see the Coming Year Projections table on the back for more details.

     Escrow Payment                                                                       Current Annual                                                       Anticipated Annual
                                                                                                                                Annual Change
     Breakdown                                                                               Disbursement                                                               Disbursement
     CITY TAX                                                                                           $904.27                              $454.94                              $1,359.21
     FHAMIP INS                                                                                         $109.32                              ($10.92)                                       $98.40
     HAZARD SFR                                                                                       $1,932.54                             $1,051.02                            $2,983.56
     Annual Total                                                                                   $2,846,13                            $1,495.04                             $4,441.17
   Ifyou have questions about changes to your property taxes or homeowners' insurance premiums, please contact your local taxing authority or insurance provider, For more information
   about your loan, please sign in at www.mrcooper.com.
   After conducting the annual analysis ofyour account, Mr. Cooper has determined that a surplus of funds existss and wo uld like to inform
                                                                                                                                          ti you of options available to you. You may: 1.
   Retain the funds sent to you via check for your own purposes, 2. Return the funds to Mr. Cooper and req  i   ucst thait we apply these funds to your unpaid principal balance, 3.
   Return the funds to Mr. Cooper and request that we apply these funds back into your escrow a      an connnt.




   Mr, Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC^is doing business as Nationstar Mortgage LLC d/b/a Mr.

   Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess,
   or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code, if this account has been


                                                                                                                                                                                &
   discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
   collect a debt against you; however, tne servicer/lender reserves the right to exercise the legal rights only against the property
   securing the loan obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this
   communication shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal                                                      A I.'.    I'.'H : '

   liability.                                                                                                                                                                    rip port;.: mi TV


   If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
   loan) that has not assumed, or ot herwise become obligated on the debt, this communication is for informational purposes only and is not an
   attempt to collect a debt from you personally.




                                                                ESCROW SURPLUS CHECK
          mr.
                                                                 FOR PAYMENT OF ESCROW TO MORTGAGOR
      cooper                                                            ESC DISBURSEMENT CLEARING
      CHANGING THE FACEOF HOME LOANS
                                                      JP MORGAN CHASE BANK, N.A., DALLAS, TX
                                                                                                                                             DATE                        07/24/2023



      SIX HUNDRED FIFTEEN AND 08/1 00 DOLLARS                                                                                                       AMOUNT                     $615.08

                                CHANEL DRAYTON
      PAY TO THE                536 N 58TH ST
      ORDER OF
                                PHILADELPHIA, PA 19131



                                                                      Escrow checks are voided after 180 days
Case 22-13228-amc                             Doc          Filed 08/15/23 Entered 08/15/23 11:10:31                                                         Desc Main
                                                           Document      Page 5 of 6
   The change in your escrow payment** may be based on one or more of the following factors:

   PAYMENT(S)                                                 TAXES                                              INSURANCE
   • Monthly payment(s) received were less than               • Tax rate and/or assessed value changed              * Premium changed
      or greater than expected                                • Exemption status lost or changed                    • Coverage changed
   • Monthly payment(s) received earlier or later             • Supplemental/Delinquent tax paid                    * Additional premium paid
      than expected                                           • Paid earlier or later than expected                 • Paid earlier or later than expected
   • Previous overage returned to escrow                      • Tax installment not paid                            • Premium was not paid
   • Previous deficiency/shortage not paid entirely           • Tax refund received                                 * Premium refund received
                                                              • New tax escrow requirement paid                     • New insurance escrow requirement paid
                                                                                                                    * Force placed insurance premium paid
                                                      Prior Year Account History and Coming Year Projections

   This is a statetment of the actual activity in your escrow account from 10/22 through 09/23. This statement itemizes your actual
   esc row accou nt transactions sin   since your r previous analysis statement or initial disclosure, and projects payments, disbursements, and
   bal an'c . >s fior the coming ye ar. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior
   year. By comparing the actual e:
                                  escrow payment with the previous projections listed, you can determine where a difference may have occurred. When applicable,
   the letter 'E' beside an amountt indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.

   Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year. Under Federal
   Law (RESPA), the lowest monthly balance in your escrow account should be no less than $723.80 or l/6th of the total annual projected disbursement from
   your escrow account, unless your mortgage documents or state law specifies otherwise. Your projected estimated lowest account balance of $1,338.88 will be
   reached in May 2024. When thejminimum required balance is subtracted from your lowest projected balance, an Escrow Surplus results in the amount of
   $615.08. These amounts are indicated with an arrow (<).

   This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankt                     ptcy filing date are included
   in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amoun                     that will come due after the
   filing ofyour bankruptcy case.

               Projected          Actual               Projected               Actual                    Description                            ected         Actu al
   Month        Payment          Payment            Diisburseme           Disbursement                                                       Bal    tee      Balam : r
                                                                                                            Start                           $2.127.61        $1,754.38
    10/22         $245.51           30.00                      $9.11                  $9.11*    *        FHAMIP INS                           32,364.01        SI,745.27
    11/22         $245.51           $0.00                      $9.11                  $9.11*    *        FHAMIP INS                           32,600.41        $1,736.16
    12/22         $245.51         $3,017.22                    $9.11                  $9.11*    *        FHAMIP INS                           $2,836.81       $4,744.27
    01/23         $245.51          $245.51                     $9.11                  $9.11*    *        FHAMIP INS                           $3,073.21       $4,980.67
    02/23         $245.51           $0.00                      $0.00             $1,359.21*     *         CITY TAX                            $3,318.72       $3,621.46
    02/23          $0.00            $0.00                      $9.11                  $9.11*    *        FHAMIP INS                           $3,309.61       $3,612.35
    03/23         $245.51           $0.00                    $904.27                  $0.00               CITY TAX                            $2,650.85       $3,612.35
    03/23          $0.00            $0.00                      $9.11                  $9.11*    *        FHAMIP INS                           $2,641.74       $3,603.24
    04/23         $245.51          $245.51                     $9.11                  $9.11*    *        FHAMIP INS                           $2,878.14       $3,839.64
    04/23          $0.00            $0.00                      $0.00            $2,983.56*      *        HAZARD SFR                           $2,878.14         $856.08
    05/23         $245.51           $0.00                      $9.11                  $9.11*    *        FHAMIP INS                           $3,114.54         $846.97
    05/23          $0.00            $0.00                  $1,932.54                  $0.00              HAZARD SFR                           $1,182.00         $846.97
    06/23         $245.51           $0.00                      $9.11                $8.20*      *        FHAMIP INS                           $1,418.40         $838.77
    07/23         $245.51         $1,47306                     $9.11                  $0.00              FHAMIP INS                           $1,654.80       $2,311.83
    08/23         $245.51          $245.51                     $9.11               $8.20*E     *E        FHAMIP INS                           $1,891-20       $2,549,14
    09/23         $245.51          $245.51                     $9.11               $8,20*E     *E        FHAMIP INS                           $2,127.60       $2,786.45
    Total        $2,946.12       $5,472.32                $2,946.13              $4,440.25                  Total                            $2,127.60       $2.766.45
                                                                                                                                                            Required
               Projected                              Proje<cted                                         Description                         Curre r; I      Balance
                Payment                             Disbu j- ement                                                                           Balance
   Month                                                                                                                                                    Proiected
                                                                                                            Start                          $3,786.45         $2,171.37
    10/23           $370.10                                    $8.20                                     FHAMIP INS                           $3,148.35       $2,533,27
    11/23           $370.10                                    $8.20                                     FHAMIP INS                           $3,510.25       $2,895.17
    12/23           $370.10                                    $8.20                                     FHAMIP INS                           $3,872.15       $3,257.07
    01/24           $370.10                                    $8.20                                     FHAMIP INS                           $4,234.05       $3,618,97
    02/24           $370.10                                    $8.20                                     FHAMIP INS                           $4,595.95       $3,980.87
    03/24           $370.10                                $1,359.21                                      CITY TAX                            $3,606.84       $2,991.76
    03/24             $0.00                                    $8.20                                     FHAMIP INS                           $3,598.64       $2,983.56
    04/24           $370.10                                    $8.20                                     FHAMIP INS                           $3,960.54       $3,345.46
    05/24           $370.10                                    $8.20                                     FHAMIP INS                           $4,322.44       $3,707.36
    05/24             $0.00                                $2,983.56                                     HAZARD SFR                           $1,338.88       $723. 80<
    06/24           $370.10                                    $8.20                                     FHAMIP INS                           $1,700.78       $1,085.70
    07/24           $370.10                                    $8.20                                     FHAMIP INS                           $2,062 68       $1,447.60
    08/24           $370.10                                    $8.20                                     FHAMIP INS                           $2,424.58       $1,809.50
    09/24           $370.10                                    S8.20                                     FHAMIP INS                           $2,786.48       $2,171.40
    Total        $4,441.20                                 $4,441.17                                        Total                            $2,786.46       $3,171.40

   Bankruptcy Adjustment - The Prior Year Account History and Coming Year Proj ections se ctionoftheAnn ual Escrow AcDcount Disclosure Statement may
   contain aline item called ''Bankruptcy
                                        :y Adjustment".
                                           Adjustment . This
                                                         rms amount is a credit based   uf
                                                                                  oasea upon  the unpaid portion of the escrow fun
                                                                                              theun                             fi ds listed on the proof of claim to
   be paid through the Chapter 13 plan, The
                                         i he amount of
                                                     or the credit is calculated and applied to reach
                                                                                                reacn the
                                                                                                      tne minimum
                                                                                                          minimi    required bal ancefior the escrow account as
   allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the toital outstanding amount of escrow funds owed in the
   proof of claim but ensures that any escrow funds listed on the proofofclaim to be paid through the: plan wil
                                                                                                             will not be collee
                                                                                                                         collected through the escrow shortage or
   surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion
                                                                                                   ion ofthe            aim escrow funds are listed as a credit LV
                                                                                                       oftin proof of claim
   reach the required minimum account balance.

   You will receive an Annual Escrow Account Disclosure Statement reflectingthe actual disbu
                                                                                       cnsDurseme nts at the
                                                                                                           eeend ofthe mext escrow analysis cycle. However,
   you should keep this statement for your own records for comparison. If a previous escrow analysis state
                                                                                                     stateme nt1was senttoj you by your previous servicer, please
   refer to that statement for comparisonpurposes. Ifyou have any questions, please call our Bankruptcy Department a1 1-877-343-5602. Our hours of
   operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more infor
                                                                                                                        rmation.

   Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
Case 22-13228-amc         Doc     Filed 08/15/23 Entered 08/15/23 11:10:31          Desc Main
                                  Document      Page 6 of 6



                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:
      Chanel R. Drayton,                            Bankruptcy No. 22-13228-amc
                  Debtor,                           Chapter 13

 Nationstar Mortgage LLC,
                  Secured Creditor,

 Chanel R. Drayton,
                  Debtor / Respondent,

 and
 SCOTT F. WATERMAN,
               Trustee / Respondent.

                                CERTIFICATION OF SERVICE

        Roger Fay, Esquire counsel for Nationstar Mortgage LLC, hereby certifies that a copy of
the NOTICE OF MORTGAGE PAYMENT CHANGE was served upon the following persons
via electronic transmission or by regular first-class mail, postage pre-paid on August 15, 2023,
addressed as follows:

 SCOTT F. WATERMAN                               MICHAEL A. LATZES
 Chapter 13 Trustee                              Law Offices of Michael A. Latzes, P.C.
 2901 St. Lawrence Ave.                          1528 Walnut Street
 Suite 100                                       Suite 710
 Reading, PA 19606                               Philadelphia, PA 19102
 via electronic transmission and regular mail    via electronic transmission and regular mail
 Chanel R. Drayton
 536 N. 58th Street
 Philadelphia, PA 19131
 via regular mail

                                                 MILSTEAD & ASSOCIATES, LLC

 DATED: August 15, 2023                          By: /s/ Roger Fay, Esq., ID No. 315987
                                                 rfay@alaw.net
                                                 14000 Commerce Parkway, Suite H
                                                 Mount Laurel, NJ 08054
                                                 (856) 724-1888
                                                 Attorneys for Secured Creditor
